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 PROB 12C                                                                          Report Date: September 22, 2020
(6/16)

                                        United States District Court                                 FILED IN THE
                                                                                                 U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                            Sep 23, 2020
                                        Eastern District of Washington                          SEAN F. MCAVOY, CLERK



                   Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender: Gregory Scott Reynolds                    Case Number: 0980 2:17CR00242-WFN-1
 Address of Offender:                                    , Washington 99205
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: April 18, 2018
 Original Offense:        Possession of Child Pornography, 18 U.S.C. § 2252(a)(5)(B) and (b)(2)
 Original Sentence:       Prison - 24 months                 Type of Supervision: Supervised Release
                          TSR - 240 months
 Asst. U.S. Attorney:     Alison L. Gregoire                 Date Supervision Commenced: February 4, 2020
 Defense Attorney:        J Houston Goddard                  Date Supervision Expires: February 3, 2040
                                          PETITIONING THE COURT

To incorporate the violations contained in this petition in future proceedings with the violations previously reported
to the Court on 04/30/2020 and 06/11/2020.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

            5           Special Condition #14: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: It is alleged that on September 15, 2020, Gregory Reynolds violated
                        special condition number 14 of his supervised release by providing a urine sample that tested
                        positive for marijuana.

                        On February 5, 2020, an officer with the U.S. Probation Office in Spokane, Washington,
                        reviewed a copy of the conditions of supervision with Mr. Reynolds, as outlined in the
                        judgment and sentence. He signed the judgment acknowledging the requirements.

                        On September 16, 2020, this officer received notification from Pioneer Human Services
                        (PHS) that the offender had submitted to phase urinalysis testing on September 15, 2020,
                        when his assigned color was identified for testing. According to PHS, the urine sample Mr.
                        Reynolds provided on that date tested presumptive positive for marijuana.

                        Although Mr. Reynolds adamantly denied consuming marijuana, on September 22, 2020, this
                        officer received laboratory confirmation that the urine sample provided by the offender was
                        in fact positive for marijuana.
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                       On September 22, 2020, when the undersigned officer confronted the offender with the
                       laboratory results, Mr. Reynolds eventually admitted to the use of marijuana on or about
                       September 14, 2020.

The U.S. Probation Office respectfully recommends the Court to incorporate the violations contained in this petition
in future proceedings with the violations previously reported to the Court.

                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      09/22/2020
                                                                             s/Amber M.K. Andrade
                                                                             Amber M.K. Andrade
                                                                             U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                             Signature of Judicial Officer

                                                                               9/23/2020
                                                                             Date
